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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOURTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

KAO LEE YANG, INDIVIDUALLY, AND                    §
OBO, S.V. & T. V., MINORS;                         §
       Plaintiffs,                                 §
                                                   §
VS.                                                §    Civil Action No. 4:18-CV-161
                                                   §
TEICHMAN GROUP, LLC., et al.,                      §
      Defendants.                                  §

                                      NOTICE OF APPEAL

       Plaintiff Marcus Wilson appeal to the United States Court of Appeals for the Fifth Circuit

from the following orders issued by this Court:

           1. August 10, 2018 Preliminary Injunction (Doc. 76); and

           2. August 8, 2018 Oral Ruling Regarding Preliminary Injunction (Doc.
              69).

This is an interlocutory appeal of an order granting an injunction brought under 28

U.S.C. § 1292(a)(1).

                                                  Respectfully submitted,

                                                  THE BUZBEE LAW FIRM

                                                  By: /s/ Anthony G.Buzbee
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                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of this document has been duly served on all
interested parties in accordance with the Federal Rules of Civil Procedure on the August 15, 2018.


                                                                /s/ Christopher J. Leavitt
                                                                   Christopher J. Leavitt




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